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                                   STATEMENT OF FACTS

       Your affiant, Richard Sutherland, is an FBI Special Agent assigned to the Charlotte
Division. In my duties as a Special Agent, I am assigned to investigate federal criminal violations
of law. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As an FBI Special Agent, I am authorized by law to engage in the
prevention and investigation of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices of persons present on the scene, depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       A person identified herein as “Complainant One” is a resident of North Carolina.
Complainant One called the FBI tip line after the events of January 6th to provide information to
the FBI. The FBI followed up and interviewed Complainant One. Complainant One said that
Complainant One is related to an individual named James “Les” Little (“LITTLE”), who lives in
Claremont, NC.

       On January 6, 2021, LITTLE was texting with Complainant One about something
unrelated. Complainant One knows LITTLE to use a cell phone with phone number ***-***-
7076. At 3:20 p.m., LITTLE texted Complainant One “We just took over the Capital.” At 3:36
p.m., LITTLE texted Complainant One “We are stopping treason! Stealing elections is treason!
We’re not going to take it anymore!” Complainant One provided screenshots of the above text
messages to the FBI. A screenshot is included below.




        Also on January 6, 2021, Complainant One saw a post about LITTLE on Facebook. A
different relative of LITTLE’s posted a message asking for prayer for LITTLE, who they said was
traveling back from Washington, DC. Complainant One provided the FBI with a screenshot of this
Facebook post.

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     On January 13, 2021, the FBI interviewed LITTLE at his residence in Claremont, NC.
LITTLE told the FBI that he lived at that residence with his elderly mother.

         LITTLE voluntarily provided the following information: LITTLE went to Washington,
DC the day before the planned protest on January 5, 2021. On January 6th, LITTLE went to the
protest.

        Little stated that at some point, the police began using tear gas at the protest. LITTLE said
that some people went into the Capitol, and he got caught up in the moment and went into the
Capitol as well. LITTLE said that he had no intention of entering the Capitol when he went to the
protest, but that he got caught up in the moment.

        LITTLE said he walked around the Capitol, smiling and fist bumping other people who
were also inside the Capitol. LITTLE walked around the Senate Chamber and took photographs
of himself there. LITTLE stated that he sent these photographs to people that he trusted. LITTLE
said that he must have gotten caught up in the moment when he sent a text about taking over the
Capitol. LITTLE left the Washington, D.C. area and returned to North Carolina that evening.

       LITTLE chose not to answer follow-up questions from the FBI Agents. LITTLE also
declined to turn over the photographs that he took with his telephone of himself and others inside
the Capitol.

        On January 19, 2021, the Affiant queried a paid database that the FBI has access to for the
registered owner of phone number ***-***-7076. The database reported that the phone number
is assigned to James Little and serviced by AT&T.

        The FBI obtained an image of LITTLE from the North Carolina Department of Motor
Vehicle (“DMV”) files. The FBI used this DMV image to search an FBI database of photos and
videos of individuals near, and inside of, the U.S. Capitol on January 6, 2021. This search of the
database returned four possible photos of LITTLE: two of the photos depicted one person and the
other two photos depicted a second person

       The Affiant interviewed Complainant One again and showed Complainant One the
potential images of LITTLE. Complainant One positively identified the images below as being of
LITTLE. Complainant One excluded two additional images, of another individual, and said that
they were not LITTLE. Complainant One based their identification of LITTLE on having known
LITTLE most of LITTLE’s life and having spent significant amounts of time with LITTLE.




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       The FBI continued to search photos and videos from inside and around the Capitol Building
that were collected as part of the investigation. The FBI identified an additional photograph of
LITTLE inside of the U.S. Capitol on January 6, 2021. That image is below. (The Affiant has
added an arrow pointing to LITTLE).




        According to records obtained through a search warrant which was served on AT&T on
January 6, 2021, in and around the time of the incident, the cellphone associated with ***-***-
7076 was identified as having utilized a cell site consistent with providing service to a geographic
area that includes the interior of the United States Capitol building.


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        Based on the foregoing, your affiant submits that there is probable cause to believe that
JAMES LITTLE violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Finally, your affiant submits there is also probable cause to believe that JAMES LITTLE
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     _________________________________
                                                     RICHARD SUTHERLAND
                                                     FBI SPECIAL AGENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th , day of March 2021.



                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




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